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                       United States Court of Appeals
                                      FIFTH CIRCUIT
                                   OFFICE OF THE CLERK
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    LYLE W. CAYCE        ġ                                           TEL. 504-310-7700
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                         ġ                                                Suite 115
                                                                 NEW ORLEANS, LA 70130

                                 January 05, 2023
   MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
          No. 22-30697       In re: Vivek Murthy
                             USDC No. 3:22-CV-1213

   Enclosed is an order entered in this case.
   Attached is a revised case caption to be used on all future filings
   in this case.

                                       Sincerely,
                                       LYLE W. CAYCE, Clerk




                                       By: _________________________
                                       Allison G. Lopez, Deputy Clerk
                                       504-310-7702


   Mr.   Charles F. Capps
   Mr.   Tony R. Moore
   Ms.   Elizabeth Baker Murrill
   Mr.   Dean John Sauer
   Mr.   Michael Everett Talent
   Mr.   Daniel Bentele Hahs Tenny
   Mr.   John Julian Vecchione
   Mr.   Daniel Winik
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   In re   Vivek H. Murthy; Jen Easterly; Rob Flaherty; United States
   of America,
                            Petitioners
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                 United States Court of Appeals
                      for the Fifth Circuit

                                         No. 22-30697


         In re Vivek H. Murthy; Jen Easterly; Rob Flaherty,

                                                                            Petitioners.


                               Petition for a Writ of Mandamus
                              to the United States District Court
                             for the Western District of Louisiana
                                   USDC No. 3:22-CV-1213


                                  UNPUBLISHED ORDER

         Before Clement, Southwick, and Higginson, Circuit Judges.
         Per Curiam:
                On November 21, 2022, we entered an order on the federal
         government’s petition for a writ of mandamus. We left the petition pending
         in this court and stayed the depositions of three federal officials until the
         district court made further findings. The district court then made findings
         that caused the parties to pursue other alternatives to these depositions.
                The federal government now seeks to supplement its earlier
         mandamus petition and have us vacate an order by the district court
         authorizing the deposition of a fourth person, former White House Press
         Secretary Jennifer R. Psaki. We STAY Psaki’s deposition pending the use
         of other alternatives, leaving the supplemental petition pending. We explain.
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                 Our previous order summarized the facts of this case in some detail.
         We provide a shorter summary here.
                 In May 2022, the States of Missouri and Louisiana, along with five
         individuals, sued various federal officials and departments in federal district
         court in Louisiana. The suit alleges the defendants are infringing the First
         Amendment by coercing social media platforms to censor speech.
                 In June 2022, the plaintiffs moved for a preliminary injunction and for
         expedited discovery for the injunctive relief. The district court granted
         expedited discovery. As relevant here, that discovery included interrogatory
         responses from the White House Office of the Press Secretary.
                 In October 2022, the plaintiffs requested the deposition of ten federal
         officials, including former White House Press Secretary Psaki. 1 On October
         21, 2022, the district court authorized the deposition of Jennifer R. Psaki and
         seven other officials.
                 The federal government then petitioned this court for a writ of
         mandamus to vacate the order insofar as it required the depositions of three
         officials: Rob Flaherty, Vivek Murthy, and Jen Easterly. We concluded the
         district court needed first to consider whether the relevant information could
         be obtained through less intrusive means. We also stated that the district
         court should address in an order whether the federal government’s motion
         to dismiss should be ruled on before any depositions were required. We
         stayed all three depositions.
                 Because Psaki is no longer in government service, the federal
         government challenged her deposition through the procedures provided in



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                  Psaki was originally named as a defendant in this case until her resignation, when
         current White House Press Secretary Karine Jean-Pierre was substituted.




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         Federal Rule of Civil Procedure 45. The plaintiffs served Psaki with a Rule
         45 subpoena in the United States District Court, Eastern District of Virginia,
         and the federal government moved in that court to quash the subpoena. The
         Virginia court transferred the motion to the district court in Louisiana where
         this case was originally filed.
                In light of our earlier order regarding other depositions, the district
         court in Louisiana recognized it should “evaluate the need for Psaki’s
         deposition in the same manner as the depositions of Murthy, Easterly, and
         Flaherty.” On December 7, 2022, after receiving additional briefing, the
         district court again authorized the deposition of Psaki.         The federal
         government now seeks to vacate the district court’s October 7 and December
         22 orders to the extent they allow Psaki’s deposition.
                As we explained in our previous order, a party seeking the deposition
         of a high-ranking executive official must show that “extraordinary
         circumstances” exist. In re F.D.I.C., 58 F.3d 1055, 1060 (5th Cir. 1995). We
         agree with other circuits that such a showing is equally applicable to former
         officials, lest they be ensnared in unnecessary discovery upon leaving office.
         In re U.S. Dep’t of Educ., 25 F.4th 692, 705 (9th Cir. 2022); In re United
         States, 542 F. App’x 944, 949 (Fed. Cir. 2013). The district court found, and
         the plaintiffs do not dispute, that Psaki is high-ranking. Indeed, as a former
         Assistant to the President, Psaki was one of those in the most senior rank in
         the White House other than Chief of Staff.
                 In evaluating whether deposition testimony can be compelled from
         someone at the apex of government, courts must consider: (1) the deponent’s
         high-ranking status; (2) the substantive reasons for the deposition; and (3)
         the potential burden the deposition would impose on the deponent. In re
         F.D.I.C., 58 F.3d at 1060. A “key aspect” of this analysis is whether the
         information sought can be obtained through other means. In re Paxton, 53




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         F.4th 303, 309 (5th Cir. 2022) (quotation marks and citation omitted). “A
         district court commits a clear abuse of discretion when it compels apex
         testimony absent extraordinary circumstances.” Id. at 309 (quotation marks
         and citation omitted).
                 Here, the district court found that the defendants had not provided
         any “reasonable alternative to” Psaki’s deposition and had “disavowed any
         knowledge of Psaki’s information.” Our review, though, reveals a clear
         alternative that both parties actually had accepted. Each stated in district
         court that Psaki’s deposition was unnecessary at this time. The defendants
         proposed that they amend interrogatory responses after consulting with
         Psaki, while the plaintiffs requested both amended interrogatories and the
         designation of lower-level officials with relevant knowledge.
                 In authorizing Psaki’s deposition, the district court did not discuss the
         parties’ alternatives. As we stressed in our previous order, depositions of
         high-ranking officials are disfavored when there are “less intrusive,
         alternative means” of obtaining relevant information. Where there are
         alternatives, testimony is justified only in the “rarest of cases.” In re
         F.D.I.C., 58 F.3d at 1062. We certainly do not find such rarity where all
         parties agreed that testimony was not needed. 2
                 We also disagree with the district court’s appraisal of the “substantive
         reasons” for taking Psaki’s deposition. See In re F.D.I.C., 58 F.3d at 1060.
         The district court supported its orders by referring to a “series of public



                 2
                   It may well be that the information the plaintiffs seek can be more expeditiously
         obtained through a deposition. The doctrine protecting high-ranking officials, however, is
         not altered by its inconvenience. Indeed, the doctrine assumes its application often will be
         more cumbersome for the party seeking discovery. Because only “extraordinary
         circumstances” can justify deposing such officials, slower — but less intrusive — means
         may be required. See In re F.D.I.C., 58 F.3d at 1060 (citation omitted).




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         statements” Psaki had made regarding social media content moderation.
         The plaintiffs argue that a deposition is required in order to, among other
         things, illuminate the meaning of these statements. Much of this desired
         illumination, though, is apparent from the record. For example, the plaintiffs
         assert they need additional information regarding “asks,” i.e., requests for
         action the federal government made to social media platforms. The broad
         content of those “asks,” though, is available from Psaki’s public statements. 3
         In a similar vein, the plaintiffs say they need to uncover the identities of
         government officials and social media platforms mentioned in Psaki’s
         statements. The record is already replete with such information. For
         example, the record identifies White House officials Rob Flaherty, Andrew
         Slavitt, and several others by name, as being among those in contact with
         social media platforms.         The record also identifies several technology
         platforms to whom “asks” were directed — Twitter, Facebook, YouTube,
         and Google.
                 Further, we recently rejected subjecting certain high-ranking state-
         government officials to depositions because of generalized “public
         statements about a matter that later became the subject the litigation.” In re
         Paxton, 53 F.4th at 309. The Paxton court rejected the district court’s finding
         that Paxton had “unique, first-hand knowledge” because of a series of public
         statements. Id. We held that making “unexceptional” public statements
         cannot supply the basis for compelled testimony without rendering the
         “exceptional circumstances test” a hollow doctrine. Id.



                 3
                     During a July 15, 2021, press conference, Psaki stated that the administration
         “engage[s] with [social media platforms] regularly and they certainly understand what our
         asks are.” Directly prior to that statement, Psaki explained that there are “proposed
         changes that we have made to social media platforms” and then proceeded to outline, in
         detail, the content of the proposed “asks.”




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                   So too here. As Press Secretary, Psaki’s role was to inform the media
         of the administration’s priorities, not to develop or execute policy.
         Unsurprisingly, then, the record does not demonstrate that Psaki has unique
         first-hand knowledge that would justify the extraordinary measure of
         deposing a high-ranking executive official. See id. We offer one example.
         The plaintiffs and district court rely, in part, on Psaki’s public statements
         that the President supports “a robust anti-trust program.” The plaintiffs
         assert they need to probe the meaning behind the statement. To the contrary,
         this is the sort of “unexceptional,” generalized statement that cannot
         establish the existence of “extraordinary circumstances.” Id.
                   We now address a few secondary matters. First, the plaintiffs contend
         the defendants were required to move in the district court to certify an
         interlocutory appeal of the denial of the motion to quash, before seeking
         mandamus relief. See 28 U.S.C. 1292(b). There are few absolute procedural
         prerequisites for mandamus. The key is that mandamus relief is available
         “only Bto remedy a clear usurpation of power or abuse of discretion’ when
         Bno other adequate means of obtaining relief is available.’” In re F.D.I.C., 58
         F.3d at 1060 (quoting In re Fibreboard Corp., 893 F.2d 706, 707 (5th Cir.
         1990)). Given the imminence of Psaki’s deposition, and the fact we already
         had stayed other depositions sought by the same parties that raise the same
         issues in this same case, other relief such as pursuing an interlocutory appeal
         from the denial of the motion to quash was an inadequate means to obtain
         relief.
                   Second, the plaintiffs argue that the three officers named in the federal
         government’s first mandamus petition lack standing to object to Psaki’s
         deposition. Regardless of whether that is so, a point we need not address, we
         order that the United States be added to the caption of this case as a
         petitioner.




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                Finally, the plaintiffs argue that the defendants have lost the right to
         assert alternatives to deposing Psaki. The federal government, plaintiffs say,
         refused to consult with Psaki on previous occasions and should not be allowed
         to do so now. Our reaction to that argument is that the usual incidents of
         litigation lead parties to alter their approaches over time. Here, it was in
         response to our previous order that the federal government offered to consult
         Psaki. Indeed, the plaintiffs also had a conversion experience and accepted
         that a deposition was not necessary at this time. Now, in response to the new
         mandamus petition, the plaintiffs again changed course and argue that a
         deposition is necessary. We conclude that the federal government has not
         waived or forfeited its argument.
                A writ of mandamus is always discretionary. In re Paxton, 53 F.4th at
         310. The allegations that the plaintiffs make against the federal government
         are, no doubt, serious. They warrant careful consideration. We remain,
         though, at an early station in litigation. This action was brought over six
         months ago. An initial motion to dismiss was filed, and another revised to
         reflect the amended complaint is pending. In the meantime, the district court
         has authorized extensive discovery, even while acknowledging that
         “expedited discovery” should be “narrowly tailored.”             The federal
         government has produced thousands of pages of written discovery, and four
         depositions have already taken place.
                The central concern of this court is that absent “extraordinary
         circumstances,” depositions of high government officials should not
         proceed. That rule is a constant across the decades regardless of who the
         officials are. The circumstances have not yet been shown as extraordinary in
         light of the possibility of alternatives.
                IT IS ORDERED that the federal government’s motion for leave to
         supplement its petition for writ of mandamus is GRANTED.




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                IT IS ORDERED that the United States be added as a petitioner in
         this matter.
                IT IS FURTHER ORDERED that Jennifer R. Psaki’s deposition
         is stayed pending the pursuit of less intrusive alternatives to a deposition and
         further order of the district court.
                The petition for a writ of mandamus remains pending in this court.




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